Case 5:19-cv-00071-H Document 40

Filed 07/13/21 Pagelofi1l PagelD 199

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
LUBBOCK DIVISION

BETHEL BAPTIST CHURCH INC.,
PLAINVIEW, TEXAS,

Plaintiff,
V.

CHURCH MUTUAL INSURANCE
COMPANY,

Defendant.

No. 5:19-CV-071-H

ORDER OF DISMISSAL

Before the Court is the parties’ Joint Stipulation of Dismissal with Prejudice pursuant

to Fed. R. Civ. P. 41(a)(1)(A)(ii). Dkt. No. 39. The Joint Stipulation is approved. It is

ordered that Bethel Baptist Church’s claims against Church Mutual Insurance Company are

dismissed with prejudice, and the Clerk of Court is directed to close this case. The parties

shall each bear their own costs and attorney’s fees.

So ordered on July | 4 , 2021.

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ESLEY HENDRIX
D STATES DISTRICT JUDGE

